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 8                             UNITED STATES DISTRICT COURT
 9                           SOUTHERN DISTRICT OF CALIFORNIA
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11    FC CAPITAL HOLDINGS, LLC,                            Case No.: 25-CV-103 JLS (SBC)
      d/b/a FUNDCANNA,
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                                          Plaintiff,       ORDER GRANTING DEFENDANTS’
13                                                         MOTION TO WITHDRAW NOTICE
      v.                                                   OF REMOVAL AND REMAND TO
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                                                           STATE COURT
      CHOICE LABS LLC; GCC MI,
15
      ACQUISITIONS, INC.; GCC MI
                                                           (ECF No. 4)
16    HOLDINGS, LLC; HELLER
      INVESTMENT HOLDINGS LLC; RAW
17
      VENUTRES LLC; PAGANI LLC d/b/a
18    VELVET FUNDING; and DOES 1 to 10,
      inclusive;
19
                                      Defendants.
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22          On January 15, 2025, Defendants Choice Labs LLC; GCC MI, Acquisitions, Inc.;
23    and GCC MI Holdings, LLC (collectively, “Defendants”) filed their Notice of Removal in
24    this Court. See ECF No. 1. Defendants stated the Court had jurisdiction under 28 U.S.C.
25    § 1332, because “the Parties to this Action are citizens of different states, establishing the
26    diversity requirement necessary . . . .” Id. at 3. On January 24, 2025, Defendants filed a
27    Motion to Withdraw Notice of Removal and Remand to the Superior Court, State of
28    California, County of San Diego (“Mot.,” ECF No. 4). In their Motion, Defendants

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 1    explained they “discovered that one of the minority members of GCC MI Holdings, LLC
 2    is a citizen of California, and thus, there is not complete diversity among the parties as is
 3    required by 28 U.S.C. § 1332.” Mot. at 2. Defendants request that “this Court grant this
 4    motion to remand this action to the state court from which it was removed,” pursuant to 28
 5    U.S.C. §1447(c), “on the ground that this Court lacks subject matter jurisdiction over this
 6    action based on diversity citizenship.” Id. at 1–2. On January 27, 2025, Plaintiff FC
 7    Capital Holdings, d/b/a FundCanna filed a Statement of Non-Opposition to Defendants’
 8    Motion to Withdraw Notice of Removal and Remand. See ECF No. 5.
 9          For purposes of diversity jurisdiction, a limited liability company (“LLC”) “is a
10    citizen of every state of which its owners/members are citizens.” Johnson v. Columbia
11    Props. Anchorage, LP, 437 F.3d 894, 899 (9th Cir. 2006). The party invoking the removal
12    statute bears the burden of establishing that federal subject-matter jurisdiction exists by a
13    preponderance of the evidence. McNutt v. Gen. Motors Acceptance Corp. of Ind., Inc., 298
14    U.S. 178, 189 (1936); In re Haw. Fed. Asbestos Cases, 960 F.2d 806, 810 (9th Cir. 1992);
15    Emrich v. Touche Ross & Co., 846 F.2d 1190, 1195 (9th Cir. 1988). Moreover, courts
16    “strictly construe the removal statute against removal jurisdiction.” Gaus v. Miles, Inc.,
17    980 F.2d 564, 566 (9th Cir. 1992) (citing Boggs v. Lewis, 863 F.2d 662, 663 (9th Cir.
18    1988)); Takeda v. Nw. Nat’l Life Ins. Co., 765 F.2d 815, 818 (9th Cir. 1985)). Therefore,
19    “[f]ederal jurisdiction must be rejected if there is any doubt as to the right of removal in
20    the first instance.” Gaus, 980 F.2d at 566 (citing Libhart v. Santa Monica Dairy Co., 592
21    F.2d 1062, 1064 (9th Cir. 1979)).
22          Here, as Defendants assert they “cannot meet [their] burden” of establishing federal
23    diversity jurisdiction, Mot. at 5, and Plaintiff does not oppose the Motion, ECF No. 5 at 1,
24    the Court GRANTS Defendants’ Motion (ECF No. 4) and REMANDS this action to the
25    Superior Court for the State of California, County of San Diego.
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 1          As this concludes the litigation in this matter, the Clerk of the Court SHALL
 2    CLOSE the file.
 3          IT IS SO ORDERED.
 4    Dated: February 5, 2025
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